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m THE UNITED sTATES DISTRICT comer ’ ' “*" J'("
FOR THE wEsTERN DISTRICT oe TENNESSEE f ,

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W~D. GF `l"N. ivi.~.wi‘r*'r{£$
TERENCE LEE STOKES,

Plaintiff,
vs. No. 04-3030-Ml/An
SHELBY COUNTY, et al. ,

Defendants.

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ORDER OF DI SMI SSAL

 

Plaintiff Terence Lee Stokes, RNI number 82519, who was, at
the time he commenced this action, an inmate at the Shelby County
Detention Center in Memphis, filed a pro §§ complaint pursuant to 42
U.S.C. § 1983 on December 7, 2004. The Court issued an order on May 6,
2005, directing the Plaintiff, within thirty days, to comply with the
Prison Litigation.Reforn\Act of 1995 (“PLRA”), 28 U.S.C. § l9lB(a)-(b),
or pay the $150 civil filing fee. The Plaintiff’s copy of this order
was returned by the post office on June l, 2005, with a notation that
the Plaintiff had been discharged. The Plaintiff has not supplied the
Clerk with a forwarding address, and the TDOC website indicates the
Plaintiff is not currently incarcerated in a TDOC facility.

Because the Plaintiff has not provided the Clerk with a
forwarding address, there appears to be no way to communicate with him.
It is the most basic responsibility of a litigant to keep the Court

informed concerning his whereabouts. Accordingly, this action is

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DISMISSED without prejudice, pursuant to Fed. R. Civ. P. 4l(b), for

failure to prosecute.

IT IS SO ORDERED this g§;§ day of June, 2005.

mmsz

JO PHIPPS MCCALLA
".[‘ED S'I'ATES DISTRICT JUDGE

RNDT"ISRIC oF TENNESSEE

     

UNITSED`ATE DISTRICT C URT WESTE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-03030 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Terence Lee Stokes

SHELBY COUNTY CORRECTIONAL COl\/[PLEX
825 19

1045 Mullins Station Road

Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

